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                             Exhibit
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DOE NUMBER: 704
MARKETPLACE: Other
MERCHANT NAME: approachee
SELLER ID: approachee.com
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DOE NUMBER: 714
MARKETPLACE: Other
MERCHANT NAME: beautifuldeer
SELLER ID: beautifuldeer.com
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DOE NUMBER: 720
MARKETPLACE: Other
MERCHANT NAME: blink-rain
SELLER ID: blink-rain.com
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DOE NUMBER: 728
MARKETPLACE: Other
MERCHANT NAME: cheap-easy-go
SELLER ID: cheap-easy-go.com
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DOE NUMBER: 754
MARKETPLACE: Other
MERCHANT NAME: enjoyaitlife
SELLER ID: enjoyaitlife.com
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DOE NUMBER: 765
MARKETPLACE: Other
MERCHANT NAME: feelrational
SELLER ID: feelrational.com
Case 1:23-cv-22322-DSL Document 130-5 Entered on FLSD Docket 10/14/2023 Page 45 of
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DOE NUMBER: 767
MARKETPLACE: Other
MERCHANT NAME: firemid
SELLER ID: firemid.com
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DOE NUMBER: 769
MARKETPLACE: Other
MERCHANT NAME: flowercog
SELLER ID: flowercog.com
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DOE NUMBER: 772
MARKETPLACE: Other
MERCHANT NAME: formulalm
SELLER ID: formulalm.com
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DOE NUMBER: 773
MARKETPLACE: Other
MERCHANT NAME: frame-wood.
SELLER ID: frame-wood.com
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DOE NUMBER: 778
MARKETPLACE: Other
MERCHANT NAME: glossarye
SELLER ID: glossarye.com
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DOE NUMBER: 780
MARKETPLACE: Other
MERCHANT NAME: gorgeifous
SELLER ID: gorgeifous.com
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DOE NUMBER: 781
MARKETPLACE: Other
MERCHANT NAME: gorgeousdo
SELLER ID: gorgeousdo.com
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DOE NUMBER: 785
MARKETPLACE: Other
MERCHANT NAME: hailoyearn
SELLER ID: hailoyearn.com
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DOE NUMBER: 786
MARKETPLACE: Other
MERCHANT NAME: happytoobtain
SELLER ID: happytoobtain.com
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Case 1:23-cv-22322-DSL Document 130-5 Entered on FLSD Docket 10/14/2023 Page 94 of
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DOE NUMBER: 800
MARKETPLACE: Other
MERCHANT NAME: jewelawne
SELLER ID: jewelawne.com
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     Case 1:23-cv-22322-DSL Document 130-5 Entered on FLSD Docket 10/14/2023 Page 101 of
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DOE NUMBER: 821
MARKETPLACE: Other
MERCHANT NAME: mattch-better
SELLER ID: mattch-better.com
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Case 1:23-cv-22322-DSL Document 130-5 Entered on FLSD Docket 10/14/2023 Page 103 of
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DOE NUMBER: 871
MARKETPLACE: Other
MERCHANT NAME: somethebest
SELLER ID: somethebest.com
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DOE NUMBER: 883
MARKETPLACE: Other
MERCHANT NAME: swan-sunny
SELLER ID: swan-sunny.com
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DOE NUMBER: 891
MARKETPLACE: Other
MERCHANT NAME: tophotred
SELLER ID: tophotred.com
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DOE NUMBER: 907
MARKETPLACE: Other
MERCHANT NAME: allhaulm
SELLER ID: www.allhaulm.com
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DOE NUMBER: 909
MARKETPLACE: Other
MERCHANT NAME: bulk-supplement
SELLER ID: www.bulk-supplement.com
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DOE NUMBER: 910
MARKETPLACE: Other
MERCHANT NAME: confidencem
SELLER ID: www.confidencem.com
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DOE NUMBER: 911
MARKETPLACE: Other
MERCHANT NAME: costumebrand
SELLER ID: www.costumebrand.com
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DOE NUMBER: 913
MARKETPLACE: Other
MERCHANT NAME: goblinpocket
SELLER ID: www.goblinpocket.com
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DOE NUMBER: 916
MARKETPLACE: Other
MERCHANT NAME: inputependa
SELLER ID: www.inputependa.com
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DOE NUMBER: 918
MARKETPLACE: Other
MERCHANT NAME: milletgo
SELLER ID: www.milletgo.com
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DOE NUMBER: 919
MARKETPLACE: Other
MERCHANT NAME: mite-wood
SELLER ID: www.mite-wood.com
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Case 1:23-cv-22322-DSL Document 130-5 Entered on FLSD Docket 10/14/2023 Page 187 of
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Case 1:23-cv-22322-DSL Document 130-5 Entered on FLSD Docket 10/14/2023 Page 188 of
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    Case 1:23-cv-22322-DSL Document 130-5 Entered on FLSD Docket 10/14/2023 Page 189 of
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DOE NUMBER: 922
MARKETPLACE: Other
MERCHANT NAME: puppup
SELLER ID: www.puppup.net
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Case 1:23-cv-22322-DSL Document 130-5 Entered on FLSD Docket 10/14/2023 Page 191 of
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DOE NUMBER: 923
MARKETPLACE: Other
MERCHANT NAME: rationalu
SELLER ID: www.rationalu.com
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DOE NUMBER: 924
MARKETPLACE: Other
MERCHANT NAME: supvogue
SELLER ID: www.supvogue.com
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    Case 1:23-cv-22322-DSL Document 130-5 Entered on FLSD Docket 10/14/2023 Page 204 of
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DOE NUMBER: 927
MARKETPLACE: Other
MERCHANT NAME: youngfight
SELLER ID: youngfight.com
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